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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION



   DEBORAH BOLIO,

         Plaintiff,

   v.                                                    CASE NO. 8:18-cv-974-T-23AAS

   CAPITAL ONE SERVICES, LLC,

         Defendant.
   ____________________________________/


                                          ORDER

         In accord with the parties’ joint stipulation (Doc. 19), this action is

   DISMISSED WITH PREJUDICE under Rule 41(a)(1)(A)(ii), Federal Rules of Civil

   Procedure.

         ORDERED in Tampa, Florida, on September 19, 2018.
